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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

__________________________________________
In re:                                     )           Chapter 11
                                           )
ASPECT SOFTWARE PARENT, INC., et al.       )           Case No. 16-10597 (MFW)
                                           )
       Reorganized Debtors.                )           (Jointly Administered)
                                           )
                                           )
                                           )
BISK EDUCATION, INC.,                      )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )           Adversary No. 16-51510 (MFW)
                                           )
ASPECT SOFTWARE, INC.,                     )
                                           )
       Defendant.                          )
                                           )
                                           )
                                           )
ASPECT SOFTWARE, INC.,                     )
                                           )
       Counterclaim-Plaintiff,             )
                                           )
v.                                         )
                                           )
BISK EDUCATION, INC.,                      )
                                           )
       Counterclaim-Defendant.             )
___________________________________________)

                                NOTICE OF DEPOSITION

To:   Manish Chandak
      c/o: Ravi Shankar, Esq.
      Kirkland & Ellis, LLP
      300 North Lasalle
      Chicago, Illinois 60654

      PLEASE TAKE NOTICE that Plaintiff, Bisk Education, Inc. (“Bisk”), will take the

deposition of Manish Chandak by oral examination using video tape, audio tape, and/or other

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stenographic means, or a combination of those means. The deposition will commence on May 23,

2018 at 9:30 a.m. (CDT) at Chesterfield Center, 100 Chesterfield Business Parkway, 2nd

Floor, Chesterfield, Missouri 63005, or at such time and place as otherwise agreed to in writing

by counsel. The deposition will be before a Notary Public or other officer authorized by law to

administer oaths.

       You are invited to attend and cross-examine the witness(es).

Dated: May 4, 2018
       Wilmington, Delaware

                                            CIARDI, CIARDI & ASTIN

                                    By:     s/ Joseph J. McMahon, Jr.
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                                            John D. McLaughlin, Jr. (No. 4123)
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                                            - and –

                                            Mahlon H. Barlow (admitted pro hac vice)
                                            Paul D. Watson (admitted pro hac vice)
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                                            Counsel for Bisk Education, Inc.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 4, 2018, true and correct copies of the Notice of

Deposition was be served via electronic mail (where indicated below) and first class United States

mail to the following individuals:

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                                              /s/ Joseph J. McMahon, Jr.
                                              Joseph J. McMahon, Jr. (No. 4819)




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